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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

GEORGE MOORE, individually and on
behalf of all others similarly situated,

                        Plaintiff,                     Case No. 1:18-cv-06960

v.

CHW GROUP, INC., d/b/a Choice Home
Warranty, a New Jersey corporation

                        Defendant.

                       NOTICE OF EXTRA-JUDICIAL RESOLUTION

       Plaintiff George Moore (“Plaintiff”), on behalf of himself and Defendant CHW Group

Inc. d/b/a Choice Home Warranty (individually, “Defendant” and together with Plaintiff, the

“Parties”), with Defendant’s notice and permission, hereby notifies the Court that the Parties

have reached a tentative extra-judicial resolution of the Parties’ differences and disputes in the

above-captioned matter, in full and on an individual basis. A notice of dismissal will be filed

separately. The Parties are in the process of negotiating and executing a formal written

agreement that memorializes the foregoing and will advise the Court and file all other necessary

paperwork relating thereto in due course. In the meantime, Plaintiff, on behalf of the Parties,

respectfully requests that the Court stay any and all pending deadlines and rulings on all pending

motions in this case (if any) until further notice, along with granting all other relief and entering

all other orders as the Court deems just and appropriate.


                                               GEORGE MOORE, individually and on behalf of
                                               all others similarly situated,

Dated: August 19, 2019                         By: /s/ Patrick H. Peluso




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                                  Counsel for Plaintiff and the Putative Class




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                             CERTIFICATE OF SERVICE

      I hereby certify that on August 19, 2019, I served copies of the foregoing papers on all

counsel of record by filing such papers with the Court using the Court’s electronic filing

system.

                                          /s/ Patrick H. Peluso




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